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Application GRANTED. The settlement conference currently scheduled for January 18, 2021, at 2:15 p.m.
is ADJOURNED to March 30, 2021, at 2:15 p.m. The parties' confidential settlement letters, as directed in
the Court's September 2, 2020 Order Scheduling Settlement Conference (Dkt. No. 49), shall be submitted no
later than March 23, 2021. The other provisions in the September 2 Order remain in effect.

The Court will conduct a status conference on January 25, 2021, at 10:00 a.m. At that time, the parties
shall dial (888) 557-8511 and enter the access code 7746387. SO ORDERED.



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Barbara Moses, U.S.M.J.
January 12, 2021
